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                         UNITED STATED DISTRICT COURT FOR THE
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


PINKZEBRA MUSIC, LLC,                                     )
                                                          )    Case No. 16-cv-11099
                  Plaintiff,                              )
                                                          )    Judge: Hon. Joan B. Gottschall
         v.                                               )
                                                          )
SHENZHEN WONDERSHARE                                      )
INFORMATION TECHNOLOGY CO.                                )    JURY TRIAL DEMANDED
LTD., WONDERSHARE SOFTWARE                                )
CO., LTD., ISKYSOFT STUDIO and                            )
AIMERSOFT STUDIO                                          )
                                                          )
                  Defendants.                             )

    WONDERSHARE’S ANSWER TO PINK ZEBRA MUSIC LLC’S FIRST AMENDED
                            COMPLAINT

         Defendant Shenzhen Wondershare Information Technology Co., Ltd. (“Wondershare”),1

responds to the First Amended Complaint of Plaintiff Pinkzebra Music LLC as follows:

                                                THE PARTIES

        1.      Plaintiff Pinkzebra Music, LLC (“Pinkzebra”) is a limited liability company with
its principal place of business at 2822 North Southport Avenue, Chicago, Illinois 60657.

         Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       2.     Defendant Shenzhen Wondershare Information Technology Co., Ltd. (hereinafter
“Wondershare”), upon information and belief, is an international consumer software company
owned and founded by Tobee Wu with its headquarters at 10/F, Block D, 5th Building, Shenzhen
Software Industrial Base, Haitian 2nd Rd, Nanshan District, Shenzhen, Guangdong, People’s
Republic of China 518057, with additional offices/divisions in Hong Kong, Japan, Germany,
Canada and the United States and a Merchant Billing Address of Third Floor 207 Regent Street,
London, W1B 3HH, UK.


1
 While “iSkySoft Studio” and “AimerSoft Studio” were named as defendants, those are mere sub-brands of the
primary Defendant Shenzhen Wondershare Information Technology Co., Ltd. “iSkySoft Studio” and “AimerSoft
Studio” do not exist as separate entities. Moreover, Wondershare Software Co., Ltd. is no longer an active entity.



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       Answer: Wondershare admits that it is a company that sells certain consumer software

within the international software market, was founded by Taibing Wu (also known as “Tobee

Wu” in English), and has a headquarters on the 10th Floor of Shenzhen Software Industrial Base,

Haitian 2nd Rd, Nanshan District, Shenzhen, Guangdong, People’s Republic of China 518057.

Wondershare further admits that it has additional offices in Tokyo, Japan and Vancouver,

Canada, and that its iSkysoft website identifies a merchant billing address at Third Floor 207

Regent Street, London, W1B 3HH, UK. Wondershare further admits to having a subsidiary with

a mailing address in Hong Kong. Wondershare denies the remaining allegations of this

paragraph.

       3.     Defendant Wondershare Software Co., Ltd. (hereinafter “Wondershare Texas”),
upon information and belief, is a software developer owned and founded by Tobee Wu with its
corporate headquarters at 10685-B Hazelhurst Drive, Houston, Texas 77043, United States.

       Answer: Denied.

         4.    Defendant iSkysoft Studio (hereinafter “iSkysoft”), upon information and belief,
is a software developer owned and founded by Tobee Wu with its headquarters at A801, 9/F,
Block A, TCL Building, Gaoxin Ave. 1S., Nanshan District, Shenzhen, Guangdong, People’s
Republic of China 518057 and Merchant Billing Address at Third Floor 207 Regent Street,
London, W1B 3HH, UK.

       Answer: Denied.

         5.      Defendant Aimersoft Studio (hereinafter “Aimersoft”), upon information and
belief, is a software developer owned and founded by Tobee Wu with its headquarters at 10/F,
Block D, 5th Building, Shenzhen Software Industrial Base, Haitian 2nd Rd, Nanshan District,
Shenzhen, Guangdong, People’s Republic of China 518057 and a Billing Address at Dept 906,
196 High Road, Wood Green, London.

       Answer: Denied.

                                JURISDICTION AND VENUE

        6.      This Court has original subject matter jurisdiction over the claims in this action
pursuant to 28 U.S.C. Sections 1331 and 1338. This Court has federal question jurisdiction in
this matter in that Pinkzebra seeks damages and injunctive relief against Defendants named
herein under Sections 501 through 505 and the Copyright Act of 1976, 17 U.S.C. § 101 et seq.,
and supplemental jurisdiction pursuant to 28 U.S.C. Section 1367(a) because the state law claims


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are so related to the federal claims that they form part of the same case or controversy and derive
from a common nucleus of operative fact.

       Answer: Paragraph 6 of the Complaint contains conclusions of law for which no

response is required.

        7.      Venue is proper in this Court pursuant to 28 U.S.C. 1391(b)(3), and this Court
may properly exercise personal jurisdiction over Defendants because each of the Defendants
directly targets its business activities toward consumers in Illinois and causes harm to
Pinkzebra’s business within this Judicial District. Through at least the fully interactive
commercial Internet websites operated by Defendants and the video editing software operated by
Defendants, each of the Defendants has targeted sales from Illinois residents by operating and
selling online video-editing software to residents in Illinois, by accepting payment in U.S. dollars
and by selling pirated music tracks over the internet.

       Answer: Paragraph 7 of the Complaint contains conclusions of law for which no

response is required. Wondershare admits that it operates Internet websites and sells video-

editing software. To the extent a further response is required, Wondershare denies the remaining

allegations in Paragraph 7.

                                        INTRODUCTION

         8.      This action has been filed by Pinkzebra to combat online infringers and music
pirates who distribute Pinkzebra’s music tracks as their own, as part of their commercial video-
editing software. The Defendants’ software packages and web pages are designed to appear to
users to be offering licensed and/or original tracks from Defendants, while actually selling
pirated music tracks to unknowing consumers. The Defendants own and operate online video-
editing software by the names of Filmora, Aimersoft and iSkysoft. The three software
applications allow users to upload personal videos, edit the videos, and add pirated music tracks
to their videos. In order for a user to export its completed, edited video, the user must purchase
the software from Defendants. Defendants Wondershare and Wondershare Texas’s product,
Filmora, offers its software for either (i) $44.99 for a one-year license; (ii) $59.99 for a lifetime
license, (iii) $179.97 for a lifetime license usable on two to five (2-5) computers, or (iv) $359.94
- $2999.50 for a lifetime license, based on number of computers (ranging from 6-100). Filmora
boasts at least 5 million users. See Exhibit A. Defendants Wondershare and Wondershare Texas
have a history of pirating music and both defendants even created a website to address the issue.
See Exhibit B at FN 7. Defendants have even gone so far as to create a YouTube video that
shows users how to falsely claim rights to the pirated music when presented with a YouTube
take-down notice. Exhibit C. Pinkzebra is forced to file these actions to combat Defendants’
infringement of its copyrights, as well as to protect unknowing consumers from purchasing
pirated music tracks over the internet. Pinkzebra has been and continues to be irreparably
damaged through Defendants’ illegal infringement of his music tracks and, as a result of
Defendants’ actions, and seeks injunctive and monetary relief.


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       Answer: Wondershare admits only that it sells video-editing software under the brand

names Filmora, Aimersoft, and iSkysoft, that its video editing applications allow users to edit

videos, and add sound tracks (along with screen wipes, transitions, graphics elements, titles,

filter, and many other effects) to their videos, that its Filmora website makes reference to 5

million happy users, including free trial users and customers of its Filmora software product, and

that Filmora software can be purchased at various prices depending on the license purchased.

Wondershare denies all of the remaining allegations of this paragraph.

                                  FACTUAL BACKGROUND

                                        Plaintiff Pinkzebra

       9.      Plaintiff Pinkzebra is owned by Sam Struyk, a well-known and accomplished
American composer and contemporary pianist whose self-produced first album led to him being
signed by Atlantic Records in 1991. Since then, Struyk has released four popular albums and
was also part of the musical team behind the award-winning Bud Light advertising campaign,
Real Men of Genius. Struyk is renowned for composing the music in famous and internationally
recognized ad campaigns, including Bud Light, Nintendo, McDonald’s, Capital One, State Farm
and numerous others. Struyk likewise composed music for several independent films and TV,
including the Oprah Winfrey Show, the Oprah and Friends XM Satellite radio show, and Oprah
Winfrey’s “Leadership Academy” prime time TV special devoted to her school in South Africa.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       10.   Struyk is a successful music producer and composer who operates under the
pseudonym Pinkzebra (“Pinkzebra”). He has had his music performed by major symphony
orchestras.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

         11.    Over the past five years, Pinkzebra has become one of the most-licensed music
composers in the world, with over 70,000 licenses sold. Pinkzebra has developed a devoted
international fanbase of listeners who have been introduced to his music through its legal usage
in viral YouTube videos, TV commercials, independent films, The Voice, and more.
Pinkzebra’s most popular track, “Larger Than Life,” has been heard tens of millions of times on
YouTube.



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       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      12.     Sam Struyk, and his company Pinkzebra Music, LLC, offer his musical tracks on
AudioJungle, a platform that allows composers to license their music around the world.
Together they offer over 400 musical tracks on AudioJungle and have the “#1 top-selling
AudioJungle portfolio.”

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        13.    AudioJungle created the license terms for all of Sam Struyk and Pinkzebra’s
musical tracks, but the license agreement is between Sam Struyk and/or Pinkzebra and a buyer
directly. Each AudioJungle license expressly prohibits the distribution of the music track. When
a user wants to use the same song in two video projects, that user must purchase two licenses for
the same song.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       14.     Pinkzebra’s music tracks “Larger than Life,” “Walk Through Life,” and “Spooky
Fun,” are available for personal listening vie iTunes, Spotify, Apple Music, Google Play, and
Amazon and available for licensing on AudioJungle.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        15.     The song “Larger than Life” has been sold at least 3,760 times on AudioJungle as
of the date of this Complaint.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        16.     The song “Walk Through Life” has been sold at least 2,107 times on AudioJungle
as of the date of this Complaint.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        17.    The song “Spooky Fun” has been sold at least 261 times on AudioJungle as of the
date of this Complaint.


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       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        18.    Sam Struyk applied for registrations with the U.S. Copyright Office for the three
songs, including, but not limited to:

      Copyright Number                                       Name                             Year

          1-4018270031                                LARGER THAN LIFE                        2016

          1-4018454675                            WALK THROUGH LIFE                           2016

          1-4018454631                                  SPOOKY FUN                            2016


       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      19.   On October 27, 2016, Struyk assigned all rights in and to “Larger Than Life”,
“Walk Through Life”, and “Spooky Fun” to Pinkzebra.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        20.     Sam Struyk and/or Pinkzebra’s music tracks are available for license under five
different license terms. All five licenses expressly prohibit the distribution of the music track.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       21.      The license prohibits the redistribution of the music track, the use of the track in
applications allowing a user to customize the track, and the extraction of the track and use
separately from an end project. An example of an end project would be an audio book or an
exercise DVD where the music is a background track. See Exhibit D.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        22.   The “Music Standard License” allows a user to use the music track in one end
project. Such an end project may be copied or downloaded no more than 10,000 times. This is
the most inexpensive license offered and it is available for $19.00.



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       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       23.    The “Music Broadcast (1 Million)” license allows a user to use the music track in
one end project and broadcast the project to one million viewers. The end project can be copied
or downloaded no more than 10,000 times This license is available for $38.00.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       24.    The “Music Mass Reproduction” license allows a user to use the music track in
one end project, broadcast the project to one million viewers, and allows the project to be copied
or downloaded an unlimited amount of times. This license is available for $76.00.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        25.    The “Music Broadcast (10 Million)” license allows a user to use the music track
in one end project, broadcast the project to ten million viewers, and allows the project to be
copied or downloaded an unlimited amount of times. This license is available for $152.00.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        26.     The “Music Broadcast & Film” license allows a user to use the music track in one
end project, broadcast the project to an unlimited broadcast audience, or a theatrically released
film. The license allows the project to be copied or downloaded an unlimited amount of times.
This license is available for $304.00.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

                                          The Defendants

        27.     Defendants are business entities who, upon information and belief, reside in the
United States, Canada, The People’s Republic of China, Japan, and Hong Kong. Defendants
conduct business throughout the United States, including within the State of Illinois and this
Judicial District, through the operation of fully interactive commercial websites operating under
the Defendants’ names. Each Defendant targets the United States, including Illinois, and has
distributed and continues to distribute its software, which includes pirated music tracks, to
consumers within the United States, including the State of Illinois.



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       Answer: Wondershare admits that it has offices in China, Canada, and Japan, and that it

operates a commercial website which offers to distribute, and distributes, software products to

consumers throughout the United States. Wondershare denies the remaining allegations of this

paragraph.

        28.     On information and belief, Defendants are an interrelated group of businesses, all
owned by an individual named Tobee Wu, working in active concert to knowingly and willfully
distribute, offer for sale, and sell pirated music tracks along with their video-editing software
packages. These software packages and add-ons included Pinkzebra’s music tracks up until at
least December 27, 2017, passed off as Defendants’ own.

       Answer: Denied.

                                 Defendants’ Unlawful Conduct

       29.      The success of Pinkzebra’s musical compositions has in turn attracted infringers.
Consequently, this has required Pinkzebra to retain diligent counsel in order to implement a
world-wide anti-pirating program that regularly investigates suspicious websites and web
applications, along with websites and applications reported by consumers. Internet websites
such as Defendants’ are estimated to receive tens of millions of visits per year and generate
substantial sales. Internet websites and web applications that offer pirated products, like the
Defendants’, are estimated to contribute to substantial economic damages, such as lost tax
revenue, every year.

       Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

        30.    Defendants facilitate sales of pirated tracks by selling video-editing software
packages that appear to unknowing consumers to include licensed music tracks, developed and
owned by Defendants. Many of the Defendants’ web pages that offer the software look
sophisticated and accept payment in U.S. Dollars via PayPal, Visa, MasterCard, Discover,
American Express, Wire Transfer, and various other payment methods.

       Answer: Denied.

       31.     Pinkzebra has not authorized Defendants to use or distribute his music tracks.

       Answer: Denied.

       32.     Further, music pirates like Defendants typically operate multiple credit card
merchant accounts and PayPal accounts so that they can continue operation in spite of
enforcement efforts. On information and belief, Defendants maintain off-shore bank accounts
and regularly move funds from the PayPal accounts to off-shore bank accounts outside the


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jurisdiction of this Court. Indeed, analysis of Defendant’s PayPal transaction logs indicate that
Defendants regularly move funds from U.S.-based PayPal accounts to China-based bank
accounts outside the jurisdiction of this Court.

       Answer: Denied.

         33.    Defendants, without obtaining any rights from Pinkzebra, have knowingly and
willfully used his music tracks and claimed them as their own tracks on their websites and in
their video-editing software. Defendants offer this software for sale in the United States and the
Northern District of Illinois over the internet. Each Defendant, on information and belief, has
sold its software including pirated music tracks into the United States, including Illinois and this
District. Defendants’ conduct is irreparably harming Pinkzebra.

       Answer: Denied.

                            Pirated Track No. 1, “Larger than Life”

       34.    Defendants include Pinkzebra’s music track “Larger than Life” in Filmora’s,
iSkySoft’s and Aimersoft’s free Summer Collection download for its video-editing software
package. When a user downloads the free Summer Collection package, it prompts a Facebook
post share.

       Answer: Wondershare admits that a music track “Larger Than Life” was, for a limited

time, included in a free Summer Collection download for its video-editing software packages.

Wondershare is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of this paragraph and, therefore, denies them.

       35.      Defendants’ Summer Collection package allows Defendants’ users to use “Larger
than Life” for their own, individual video projects, and passes this track off as one of
Defendants’ own.

       Answer: Denied.

       36.    As of the date of this Complaint, Defendants’ Summer Collection download,
which includes the “Larger than Life” pirated track, has been downloaded at least 89,022 times.
Exhibit E.

       Answer: Denied.

        37.     Defendants have not purchased any rights to use “Larger than Life” and instead
claim it as their own, genuine track.

       Answer: Denied.



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       38.     Defendants’ users have not purchased any rights to use “Larger than Life” in their
individual video projects.

       Answer: Denied.

       39.    Defendants Wondershare and Wondershare Texas’s web pages further list
“Larger than Life” and allows page-visitors to play the pirated music track.

       Answer: Denied.

      40.     Nowhere within any of Defendants’ video-editing software packages, or on its
web pages, do Defendants credit the owner, Pinkzebra, or the original creator, Sam Struyk, in
any way.

       Answer: Denied.

                          Pirated Track No. 2, “Walk Through Life”

       41.     Defendants include Pinkzebra’s music track “Walk Through Life” in Filmora’s,
iSkysoft’s and Aimersoft’s free Summer Collection download for its video-editing software
package. When a user downloads the free Summer Collection package, it prompts a Facebook
post share.

       Answer: Wondershare admits that a music track “Walk Through Life” was, for a limited

time, included in its free Summer Collection download for its video-editing software packages.

Wondershare is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of this paragraph and, therefore, denies them.

      42.     Defendants’ Summer Collection package allows Defendants’ users to use “Walk
Through Life” for their own, individual video projects, and passes this track off as one of
Defendants’ own.

       Answer: Denied.

       43.     As of December 6, 2017, Defendants’ Summer Collection download, which
includes the “Walk Through Life” pirated track, has been downloaded at least 89,022 times.
Exhibit E.

       Answer: Denied.

        44.     Defendants have not purchased any right to use “Walk Through Life,” and instead
claim it as their own, genuine track.

       Answer: Denied.


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        45.     Defendants’ users have not purchased any rights to use “Walk Through Life” in
their individual video projects.

       Answer: Denied.

      46.     Defendants Wondershare and Wondershare Texas’s web pages further list “Walk
Through Life” and allow page-visitors to play the pirated music track.

       Answer: Denied.

       47.    Nowhere within Defendants’ video-editing software packages, or on its web
pages, do Defendants credit the owner, Pinkzebra, or the original creator, Sam Struyk, in any
way.

       Answer: Denied.

                              Pirated Track No, 3 “Spooky Fun”

        48.    Defendants include Pinkzebra music track “Spooky Fun” in their main video-
editing software package.

       Answer: Denied.

       49.     Defendants include Pinkzebra’s music track “Spooky Fun” in Filmora’s,
iSkysoft’s and Aimersoft’s free Halloween Video Effects download for its video-editing
software package. When a user downloads the free Halloween Video Effects package, it
prompts a Facebook post share.

       Answer: Wondershare admits that a music track “Spooky Fun” was, for a limited time,

included in its free Halloween Collection download for its video-editing software packages.

Wondershare is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations of this paragraph and, therefore, denies them.

       50.     Defendants’ video-editing software allows Defendants’ users to use “Spooky
Fun” for their own, individual video projects, and passes this track off as one of Defendants’
own.

       Answer: Denied.

       51.     As of December 6, 2017, Defendants’ Halloween Video Effects download, which
includes the “Spooky Fun” pirated track, has been downloaded at least 52,885 times. Exhibit F.

       Answer: Denied.

       52.     Defendants have not purchased any rights to use “Spooky Fun,” and instead claim

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it as their own, genuine track.

        Answer: Denied.

       53.     Defendants’ users have not purchased any rights to use “Spooky Fun” in their
individual video projects.

        Answer: Denied.

       54.    Nowhere within Defendants’ video-editing software package or on its web page
do Defendants credit the owner, Pinkzebra, or the original creator, Sam Struyk, in any way.

        Answer: Denied.

                                  COUNT I
               FEDERAL COPYRIGHT INFRINGEMENT WONDERSHARE

        55.    Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-54 as
if contained herein

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-54 hereof, as if

fully set forth herein.

        56.     At all relevant times, Pinkzebra owned the copyrights and has applied for federal
registration of the copyrights for the works “Larger than Life,” “Walk Through Life,” and
“Spooky Fun.”

        Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      57.   Defendant knew Pinkzebra owned copyrights in the works “Larger than Life,”
“Walk Through Life,” and “Spooky Fun,” which have pending federal applications.

        Answer: Denied.

       58.     Without authorization, consent or permission, Defendant infringed on the
copyright in each composition by reproducing, distributing, and selling the pirated songs “Larger
than Life,” “Walk Through Life,” and “Spooky Fun” on its webpage and in its video-editing
software.

        Answer: Denied.

      59.     Defendant has not paid any license fees or other compensation to Pinkzebra for
Defendant’s reproduction, copying, selling and unauthorized uses of Pinkzebra’s work.

        Answer: Denied.

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       60.     Defendant intentionally and willfully chose to copy and sell Pinkzebra’s work
without its permission.

        Answer: Denied.

       61.     As a result of Defendant’s wrongful conduct, Defendant is liable to Pinkzebra for
copyright infringement pursuant to 17 U.S.C. 501.

        Answer: Denied.

        62.     Pinkzebra is entitled to recover its attorney fees and costs.

        Answer: Denied.

                               COUNT II
          FEDERAL COPYRIGHT INFRINGEMENT WONDERSHARE TEXAS

        63.    Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-63 as
if contained herein.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-63 hereof, as if

fully set forth herein.

        64.     At all relevant times, Pinkzebra owned the copyrights and has applied for federal
registration of the copyrights for the works “Larger than Life,” “Walk Through Life,” and
“Spooky Fun.”

        Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      65.   Defendant knew Pinkzebra owned copyright in the works “Larger than Life,”
“Walk Through Life,” and “Spooky Fun,” which have pending federal applications.

        Answer: Denied.

       66.     Without authorization, consent or permission, Defendant infringed on the
copyright in each composition by reproducing, distributing, and selling the pirated songs “Larger
than Life,” “Walk Through Life,” and “Spooky Fun” on its webpage and in its video-editing
software.

        Answer: Denied.

      67.     Defendant has not paid any license fees or other compensation to Pinkzebra for
Defendant’s reproduction, copying, selling and unauthorized uses of Pinkzebra’s work.

        Answer: Denied.

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       68.     Defendant intentionally and willfully chose to copy and sell Pinkzebra’s work
without its permission.

        Answer: Denied.

       69.     As a result of Defendant’s wrongful conduct, Defendant is liable to Pinkzebra for
copyright infringement pursuant to 17 U.S.C. 501.

        Answer: Denied.

        70.     Pinkzebra is entitled to recover its attorney fees and costs.

        Answer: Denied.

                                  COUNT III
                   FEDERAL COPYRIGHT INFRINGEMENT ISKYSOFT

       71.     Pinkzebra repeats and realleges each allegation contained in paragraphs 1-72 as if
contained herein.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-72 hereof, as if

fully set forth herein.

        72.     At all relevant times, Pinkzebra owned the copyrights and has applied for federal
registration of the copyrights for the works “Larger than Life,” “Walk Through Life,” and
“Spooky Fun.”

        Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      73.   Defendant knew Pinkzebra owned copyrights in the works “Larger than Life,”
“Walk Through Life,” and “Spooky Fun,” which have pending federal applications.

        Answer: Denied.

       74.     Without authorization, consent or permission, Defendant infringed on the
copyright in each composition by reproducing, distributing, and selling the pirated songs “Larger
than Life,” “Walk Through Life,” and “Spooky Fun” in its video-editing software.

        Answer: Denied.

      75.     Defendant has not paid any license fees or other compensation to Pinkzebra for
Defendant’s reproduction, copying, selling and unauthorized uses of Pinkzebra’s work.

        Answer: Denied.



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       76.     Defendant intentionally and willfully chose to copy and sell Pinkzebra’s work
without its permission.

        Answer: Denied.

       77.     As a result of Defendant’s wrongful conduct, Defendant is liable to Pinkzebra for
copyright infringement pursuant to 17 U.S.C. 501.

        Answer: Denied.

        78.     Pinkzebra is entitled to recover its attorney fees and costs.

        Answer: Denied.

                                  COUNT IV
                  FEDERAL COPYRIGHT INFRINGEMENT AIMERSOFT

        79.    Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-81 as
if contained herein.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-81 hereof, as if

fully set forth herein.

        80.     At all relevant times, Pinkzebra owned the copyrights and has applied for federal
registration of the copyrights for the works “Larger than Life,” “Walk Through Life,” and
“Spooky Fun.”

        Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

      81.   Defendant knew Pinkzebra owned copyrights in the works “Larger than Life,”
“Walk Through Life,” and “Spooky Fun,” which have pending federal applications.

        Answer: Denied.

       82.     Without authorization, consent or permission, Defendant infringed on the
copyright in each composition by reproducing, distributing, and selling the pirated songs “Larger
than Life,” “Walk Through Life,” and “Spooky Fun” in its video-editing software.

        Answer: Denied.

      83.     Defendant has not paid any license fees or other compensation to Pinkzebra for
Defendant’s reproduction, copying, selling and unauthorized uses of Pinkzebra’s work.

        Answer: Denied.



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       84.     Defendant intentionally and willfully chose to copy and sell Pinkzebra’s work
without its permission.

        Answer: Denied.

       85.     As a result of Defendant’s wrongful conduct, Defendant is liable to Pinkzebra for
copyright infringement pursuant to 17 U.S.C. 501.

        Answer: Denied.

        86.     Pinkzebra is entitled to recover its attorney fees and costs.

        Answer: Denied.

                              COUNT V
         CONTRIBUTORY COPYRIGHT INFRINGEMENT ALL DEFENDANTS

        87.    Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-90 as
if contained herin.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-90 hereof, as if

fully set forth herein.

       88.    Thousands of individuals directly infringed Pinkzebra’s copyrighted works when
they downloaded Defendants’ video-editing software, which contained an unauthorized copy of
Pinkzebra’s song “Spooky Fun.”

        Answer: Denied.

       89.     Thousands of individuals directly infringed Pinkzebra’s copyrighted works when
they downloaded Defendants’ Summer Collection package, which contained unauthorized copies
of Pinkzebra’s songs “Larger than Life” and “Walk Through Life.”

        Answer: Denied.

       90.    Thousands of individuals directly infringed Pinkzebra’s copyrighted works when
they downloaded Defendants’ Halloween Video Effects Package that contained an unauthorized
copy of Pinkzebra’s song “Spooky Fun.”

        Answer: Denied.

       91.      Defendants have and continue to knowingly and systematically materially
contribute to, intentionally induce, and/or cause unauthorized reproductions and distributions of
Pinkzebra’s songs.

        Answer: Denied.



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        92.    The actions and conduct of Defendants, as alleged above in this Complaint,
constitute contributory copyright infringement.

        Answer: Denied.

        93.     Defendants’ acts of infringement were and are willful, in disregard of, and with
indifference to, Pinkzebra’s rights.

        Answer: Denied.

        94.    As a direct and proximate result of Defendants’ infringements, Pinkzebra is
entitled to damages and Defendant’s profits in amounts to be proven at trial. If necessary,
Pinkzebra will seek leave to amend this Complaint to state the full amount of such damages and
profits when such have been ascertained.

        Answer: Denied.

        95.     Pinkzebra is entitled to its attorney fees and costs.

        Answer: Denied.

        96.     As a result of Defendants’ conduct, Pinkzebra has sustained and will continue to
sustain irreparable injury. Pinkzebra is thus entitled to preliminary and injunctive relief.

        Answer: Denied.

        97.     Pinkzebra also seeks an accounting of all monies collected by Defendants from all
exploitation of any kind of the pirated music tracks.

        Answer: Denied.

                                  COUNT VI
              VICARIOUS COPYRIGHT INFRINGEMENT ALL DEFENDANTS

        98.    Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-102 as
if contained herein.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-102 hereof, as

if fully set forth herein.

       99.    Thousands of individuals directly infringed Pinkzebra’s copyrighted works when
they downloaded Defendants’ video-editing software, which contained an unauthorized copy of
Pinkzebra’s song “Spooky Fun.”

        Answer: Denied.

        100.    Thousands of individuals directly infringed Pinkzebra’s copyrighted works when

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they downloaded Defendants’ Summer Collection package, which contained unauthorized copies
of Pinkzebra’s songs “Larger than Life” and “Walk Through Life.”

       Answer: Denied.

       101. Thousands of individuals directly infringed Pinkzebra’s copyrighted works when
they downloaded Defendants’ Halloween Video Effects Package that contained an unauthorized
copy of Pinkzebra’s song “Spooky Fun.”

       Answer: Denied.

        102. Defendants at all relevant times had and continue to have the right and ability to
supervise and control the infringement of Pinkzebra’s songs “Larger than Life,” “Walk Through
Life,” and “Spooky Fun.”

       Answer: Denied.

       103. Defendants have refused to exercise supervision or control to the extent required
by law. As a direct and proximate result of such refusal, Defendants have all infringed
Pinkzebra’s copyrights in his three songs by reproducing, distributing and selling Pinkzebra’s
works.

       Answer: Denied.

        104. Defendants derived and continue to derive a direct financial benefit from the
infringements of Pinkzebra’s three songs.

       Answer: Denied.

        105. Defendants’ acts of infringement were willful, in disregard of and with
indifference to Pinkzebra’s rights.

       Answer: Denied.

        106. As a direct and proximate result of Defendants’ infringements, Pinkzebra is
entitled to damages and Defendant’s profits in amounts to be proven at trial. If necessary,
Pinkzebra will seek leave to amend this Complaint to state the full amount of such damages and
profits when such have been ascertained.

       Answer: Denied.

       107.   Pinkzebra is entitled to its attorney fees and costs.

       Answer: Denied.

        108. As a result of Defendants’ conduct, Pinkzebra has sustained and will continue to
sustain irreparable injury. Pinkzebra is thus entitled to preliminary and injunctive relief.


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        Answer: Denied.

        109. Pinkzebra also seeks an accounting of all monies collected by Defendants from all
exploitation of any kind of the pirated music tracks.

        Answer: Denied.

                                  COUNT VII
                   UNJUST ENRICHMENT AGAINST ALL DEFENDANTS

        110. Pinkzebra repeats and re-alleges each allegation contained in paragraphs 1-115 as
if contained herein.

        Answer: Wondershare repeats and re-alleges its answers to paragraphs 1-115 hereof, as

if fully set forth herein..

        111. Pinkzebra’s ownership of the rights to distribute and the rights to license the use
of his compositions “Larger than Life,” “Walk Through Life,” and “Spooky Fun” are valuable
assets to Pinkzebra.

        Answer: Wondershare is without knowledge or information sufficient to form a belief as

to the truth of the allegations of this paragraph and, therefore, denies them.

       112. By reproducing, distributing, and selling Pinkzebra’s three songs without
permission or authorization, and allowing other users to use the songs without paying
compensation to Pinkzebra, Defendants have appropriated a valuable asset belonging to
Pinkzebra.

        Answer: Denied.

        113. By failing to pay proper compensation to Pinkzebra for the use of his three songs,
Defendants have retained Pinkzebra’s benefit and such retention violates the fundamental
principles of justice, equity and good conscience.

        Answer: Denied.

                                     PRAYER FOR RELIEF

Plaintiff Pinkzebra prays that this Court grant the following relief:

        1.      Permanently restrain and enjoin Defendants from infringing and using
                Pinkzebra’s federal and common law copyrights in any manner, and specifically
                prevent Defendants from distributing copies of Pinkzebra’s three songs with their
                video-editing software;



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        2.     Order a full accounting from Defendants arising out of the sales activities relating
               to any of Pinkzebra’s rights, and render a judgment for the balance due to
               Pinkzebra;

        3.     Award Pinkzebra its actual damages and Defendant’s profits attributed to
               Defendants’ acts of infringement;

        4.     Order disgorgement of any money Defendants have retained through unjust
               enrichment;

        5.     Award Pinkzebra its attorney fees and costs; and

        6.     Award such other relief as is warranted by the facts and law and is just under the
               circumstances.

        ANSWER: Wondershare denies that Plaintiff is entitled to any relief or remedy against

Wondershare at all, much less the relief requested above.

                                  AFFIRMATIVE DEFENSES

        1.     The Complaint fails to state a claim upon which relief can be granted.

        2.     Wondershare purchased licenses to the asserted music tracks, and thus

Wondershare’s actions were at all times subject to and governed by those licenses.

        3.     Plaintiff’s claims are barred under the equitable doctrine of unclean hands.

        4.     Plaintiff’s claims are barred under the doctrines waiver, estoppel, acquiescence,

and/or other applicable equitable defenses because of Plaintiff’s and Wondershare’s license

agreement, amongst other bases.

        5.     Plaintiff’s claims are barred because Plaintiff has not complied with the

requirement that it register its copyrights before filing this lawsuit, much less timely registered

them.

        6.     Plaintiff’s demands for attorney’s fees and costs are prohibited under 17 U.S.C. §

412 because the asserted works were first published several years ago, and the copyright

applications for those works were not filed until September 2016.



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       7.     Plaintiff’s claims for copyright infringement are barred, in whole or in part,

because Wondershare’s conduct was in good faith and with non-willful intent, at all times.

       WHEREFORE, Wondershare respectfully requests that this Court:

       (a) Dismiss the Complaint in its entirety;

       (b) Deny Plaintiff any and all of its requested relief;

       (c) Award Wondershare its reasonable costs and attorney’s fees; and

       (d) Grant Wondershare such additional and further relief as this Court deems
       necessary or appropriate.

                                        JURY DEMAND

       Wondershare demands a jury trial on all issues so triable.

DATED: February 10, 2017                  Respectfully submitted,


                                          SHENZHEN WONDERSHARE INFORMATION
                                          TECHNOLOGY CO. LTD.

                                          By /s/ Barry R. Horwitz
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                                            Cameron M. Nelson
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                             CERTIFICATE OF SERVICE

I hereby certify that on the date set forth below, I electronically filed the foregoing
WONDERSHARE’S ANSWER TO PINK ZEBRA MUSIC LLC’S FIRST AMENDED
COMPLAINT with the Clerk of Court using the CM/ECF system, which will send notification
of such filings to all counsel of record.

      Dated: February 10, 2017                        /s/ Barry R. Horwitz




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